           Case 1:18-vv-01599-UNJ Document 29 Filed 03/06/20 Page 1 of 2




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1599V
                                         UNPUBLISHED


    MICHELE BERNARDO,                                         Chief Special Master Corcoran

                         Petitioner,                          Filed: February 4, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.


                                    RULING ON ENTITLEMENT 1

       On October 16, 2018, Michele Bernardo filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Shoulder Injury Related to
Vaccine Administration (“SIRVA”) as a result of her October 21, 2015 influenza (“flu”)
vaccination. Petition at 10-12. The case was assigned to the Special Processing Unit
of the Office of Special Masters.




1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
            Case 1:18-vv-01599-UNJ Document 29 Filed 03/06/20 Page 2 of 2



      On January 31, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, Respondent indicates that he

        has reviewed the facts of this case and concluded that petitioner’s claim
        meets the Table criteria for SIRVA. Specifically, petitioner had no history
        of pain, inflammation or dysfunction of the affected shoulder prior to
        intramuscular vaccine administration that would explain the alleged signs,
        symptoms, examination findings, and/or diagnostic studies occurring after
        vaccine injection; she suffered the onset of pain within forty-eight hours of
        vaccine administration; her pain and reduced range of motion were limited
        to the shoulder in which the intramuscular vaccine was administered; and
        there is no other condition or abnormality present that would explain
        petitioner’s symptoms. Therefore, petitioner is entitled to a presumption of
        vaccine causation.

Id. at 6-7. Respondent further agrees that

        [w]ith respect to other statutory and jurisdictional issues, the records show
        that the case was timely filed, that the vaccine was received in the United
        States, and that petitioner satisfies the statutory severity requirement by
        suffering the residual effects or complications of her injury for more than
        six months after vaccine administration. See 42 U.S.C. §§ 300aa-
        11(c)(1)(D)(i). Petitioner avers that no civil action or proceedings have
        been pursued in connection with the vaccine-related injury. See 42 U.S.C.
        §§ 300aa-11(a)(5) and -11(c)(1)(E); Ex. 9. Thus, in light of the information
        contained in petitioner’s medical records and affidavits, respondent
        concedes that entitlement to compensation.

Id. at 7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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